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IN THE UNITED STATES DISTRICT COURT
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FOR THE NORTHERN DISTRICT OF TEXAS®! '\ ¢ rs

 

DALLAS DIVISION MG
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:BENITA :NELSON § CIVIL ACTION
:PAUL-DOUGLAS :CELESTINE § CASE NO.

PLAINTIFFS § 3- 23CVU8 ad -G

V. §

FELICAIA PETRE §
ERIC V. MOYE §
BONNIE V. RIVERA §

DEFENDANTS §

 

FEDERAL LAWSUIT FOR TITLE 42 §1983, TITLE 42 §1985, TITLE 42 §1986, TITLE
18 §641; TITLE 15 §1952 VIOLATION OF MARITIME LAW (FEDERAL LAW);
THEFT OF THE ORIGINAL PLEADING BY THE STATE COURT CLERK; CIVIL
RIGHTS
ACT OF 1866 SECTION 1981, CIVIL RIGHTS ACT OF 1964: EQUALITY, TITLE 18
§242

 

TO THE HONORABLE COURT:

THIS, Lawsuit is being filed for all of the above mention reason against all the names of
the Defendants for violation under the color of State Law. First the original plead in Dc-2202816
was filed with the Dallas County District Court Clerk, 600 Commerce St #103, Dallas, TX
75202. The original filing had a Fox 11 Stamp on it. It was signed on both sides as required in
Maritime Law by the Plaintiff :Benita :Nelson. The jurisdiction is Texas, Federal Administrative.
All of the Defendants came together in one mind to remove the original from the record. By

doing so, violated Title 42 §1983, Title 42 §1985, Title 18 §242, also theft of a 4 million dollar
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document for the lawsuit of DC-22-02816 valued at 4 million dollars. By the taking of the
document, it breached the Honorable Judge’s Oath Eric. V. Moye; Bonnie V. Rivera’s Oath; and
Felicaia Petre’s Oath as Clerk. Thus, each of the Defendants knew of a crime and did not report
it which is in violation of Title 42 §1986, and by that action, the actor violated the Civil Rights

Act of 1964: Equality under the Color of State Law.

Each of the State of Texas Employees had a fiduciary duty to protect the United States
Constitution and the Texas Constitution. The act or action by the Defendants has caused injury to
the 4 million dollar lawsuit between the :Benita :Nelson and Brenda J. Williams. To file a lawsuit
under Maritime Law means that the Truth and Facts shall come before the Court. In 1878 was
established the American Bar Association in which all attorneys swore that no truth or fact shall
come before the court, thus when Maritime Law is invoked by a party it is to know that both
Truth and Facts shall come before the Honorable Court. This Honorable Court has violated that
by the statement from the bench. The only jurisdiction 1s the Texas Jurisdiction. For 8,500 years
Maritime Law has been in operation in the States and the world. Thus an error of law by the Hon.
Eric V. Moye, by the violation of Due Process of Law. The Fox Stamp that was stolen has a
value, thus a theft has occurred and by the Defendants actions by the conspiracy would be
treason by the Honorable Judge and the Clerk. The Stamp has paid for the vessel to move

through the sea of space and to be docked at the Clerk’s Office.

Next the actor showed intent by changing the signature page on the first page which was
signed as in the days of old and did the kings of the world would with the signet ring. :Benita
‘Nelson, the operation of Maritime Law was thwarted by the actions of the actor or Defendants.
All the conduct is in violation of State Law and each of the Defendants violated their oath. They

used their station to violate the Plaintiff's Civil Rights under the Color of State Law.
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STANDARD

Title 42 U.S. Code §1983 Civil Action for deprivation of rights. Every person who under
the color of any statute ordinance, regulation, or usage of any state or territory subjects or cause
to be subjected any citizen of the United States or other persons within the Jurisdiction thereof to
the deprivation of any rights, privilege, or immunities secured by the Constitution and laws shall
be liable to the party injured in an action at lawsuit in equity or other proper proceedings for
redress. The parties cannot claim immunity by knowingly violating Federal Law by the theft of
the original pleading. The 11‘ Amendment did not bar suits against the States under Federal
Law. By the Theft alone violated Title 42 §1983 and their oaths protected by the United States

Constitution.

The Plaintiffs are not dead at sea. There is no need to mourn justice by the wearing of the
black robe, justice is alive. The Plaintiffs have met the elements of all their claims. The
violations of the Defendants have caused a 4-million-dollar injury. The Plaintiffs are suing for 4
million dollars. The Defendants have violated the Plaintiff's 14° Amendment. The Court held
that the Plaintiffs were not barred by the 11" Amendment or other immunity doctrines from
suing state actors or other officials of a state alleging that they deprived the Plaintiff of Federal

Rights under the Color of State Law and seeking damages. [Title 42 §1983].

Respectfully Submitted,

 

 

‘Benita :Nelson /s/ :Benita Nelson Date: April 20, 2023
:Paul-Douglas :Celestine /s/ :Paul-Douglas :Celestine Date: April 20, 2023

CERTIFICATE OF SERVICE
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Wherefore the original lawsuit was filed in person walk in to the Clerk’s Office Address:
United States District Clerk

1100 Commerce Street Room 1452

 

Dallas, TX 75242

‘Benita :Nelson /s/_:Benita Nelson Date: April 20, 2023
:Paul-Douglas :Celestine /s/_:Paul-Douglas :Celestine Date: April 20, 2023
CERTIFICATE OF SERVICE

 

Copy was served to the Defendants by Process Address:

600 Commerce Street

Dallas, Texas 75202

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